









Dismissed and Opinion filed October 23, 2003









Dismissed and Opinion filed October 23, 2003.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-03-00985-CV

____________

&nbsp;

JAHANE COTE, Appellant

&nbsp;

V.

&nbsp;

ALLSTATE INSURANCE COMPANY and 

ALLSTATE INDEMNITY COMPANY, Appellees

&nbsp;



&nbsp;

On Appeal from the 215th District
Court

Harris County, Texas

Trial Court Cause No.
00-62592

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O P I N I O N

This is an appeal from a judgment signed July 14, 2003.&nbsp; No clerk=s record has been filed.&nbsp; The clerk responsible for preparing the
record in this appeal informed the court appellant did not make arrangements to
pay for the record.&nbsp; 

On September 23, 2003, notification was transmitted to all
parties of the Court's intent to dismiss the appeal for want of prosecution
unless, within fifteen days, appellant paid or made arrangements to pay for the
record and provided this court with proof of payment.&nbsp; See Tex.
R. App. P. 37.3(b).&nbsp; Appellant filed no response.








Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Opinion
filed October 23, 2003.

Panel consists of Chief Justice Brister and Justices Anderson and Seymore.

&nbsp;





